       Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 1 of 44




                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


JOHN DOE and JAMES ROE (pseudonyms),
individually and on behalf of all other similarly Civil Action No. 3:21-cv-01657-SVN
situated,
                                                  AMENDED CLASS ACTION
        Plaintiffs,                               COMPLAINT

              v.                               DEMAND FOR JURY TRIAL

RAYTHEON TECHNOLOGIES
CORPORATION; PRATT & WHITNEY;
COLLINS AEROSPACE; QUEST GLOBAL
SERVICES, NA; BELCAN LLC; CYIENT,
INC.; PARAMETRIC SOLUTIONS, INC.;
AGILIS ENGINEERING INC.; MAHESH
PATEL; NATALIA KHANDROS; STEVE
HOUGHTALING; TOM EDWARDS; GARY
PRUS; FRANK O’NEILL; ROBERT
HARVEY and HARPREET WASAN

       Defendants.
                Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 2 of 44




                                                             TABLE OF CONTENTS

I.         SUMMARY OF THE ACTION ........................................................................................................... 1
II.        CRIMINAL PROCEEDINGS .............................................................................................................. 6
III. JURISDICTION AND VENUE ........................................................................................................... 7
IV. THE PARTIES...................................................................................................................................... 7
V.         AGENTS AND CO-CONSPIRATORS ............................................................................................. 13
VI. FACTUAL ALLEGATIONS ............................................................................................................. 14
      A.         Interstate Commerce ...................................................................................................... 14
      B.         Market for Aerospace Engineering Services .................................................................. 14
      C.         Defendants Have Market Power .................................................................................... 16
      D.         How the Aerospace Market Looks Without a No-Poach Agreements........................... 18
      E.         Defendants’ No-Poach Agreements ............................................................................... 19
      F.     Defendants Worked Together to Ensure Compliance with the No-Poach Agreements
      Specifically to Suppress Wages ................................................................................................ 21
      G.         Defendants Shared the Same Anticompetitive Goals .................................................... 23
      H.    Defendants Pratt & Whitney, Collins Aerospace, Natalia Khandros and Mahesh Patel
      Policed and Enforced the No-Poach Agreements Amongst Supplier Defendants .................... 24
      I.         Defendants Were Fully Aware Their Conduct Was Unlawful ...................................... 28
      J.         Aerospace Market and Indirect Market Evidence of Collusion ..................................... 30
      K.         Defendants Concealed their Unlawful Conduct to the Detriment of the Class .............. 33
VII. CLASS ACTION ALLEGATIONS ................................................................................................... 34
VIII. ANTICOMPETITIVE EFFECTS AND LACK OF PROCOMPETITIVE JUSTIFICATION .......... 35
IX. EQUITABLE TOLLING AND STATUTE OF LIMITATIONS ....................................................... 37
X.         CLAIM FOR RELIEF ........................................................................................................................ 38
XI. DEMAND FOR JURY TRIAL........................................................................................................... 40
XII. PRAYER FOR RELIEF ..................................................................................................................... 40




                                                                             i
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 3 of 44




                         ANTITRUST CLASS ACTION COMPLAINT
        Pursuant to Rule 23 of the Federal Rules of Civil Procedure Plaintiffs John Doe and

James Roe (“Plaintiffs”), individually and on behalf of others similarly situated, file this

complaint seeking damages and injunctive relief under the antitrust laws of the United States,

against Defendants Raytheon Technologies Corporation (“Raytheon”), Pratt & Whitney

(“P&W”), Collins Aerospace f/k/a/ UTC Aerospace Systems (“Collins” or “UTAS”), Belcan

LLC (“Belcan”), Cyient Inc. (“Cyient”), Parametric Solutions, Inc. (“PSI”), Agilis Engineering

Inc. (“Agilis”) (collectively, the “Corporate Defendants”); and individual Defendants Mahesh

Patel, Steve Houghtaling, Tom Edwards, Gary Prus, Frank O’Neil, Robert Harvey, and Harpreet

Wasan (together, the “Individual Defendants”) (collectively, “Defendants”). Plaintiffs seeks

treble damages and injunctive relief for Defendants’ violations of Sections 1 and 3 of the

Sherman Act, 15 U.S.C. §ֻ§ 1 & 3.

                         I.     SUMMARY OF THE ACTION

       1.       This civil antitrust class action alleges a conspiracy among Defendants P&W,

Collins, and other Defendant engineering outsource suppliers (Belcan, Cyient, PSI, QuEST and

Agilis), to restrict competition for skilled labor, including engineers and other skilled aerospace

workers (“Skilled Aerospace Workers”) working on aerospace projects. Defendant P&W hired

Skilled Aerospace Workers directly, or through the other Defendants. This conspiracy consists of

illegal agreements among Defendants to not hire each other’s Skilled Aerospace Workers (the

“No-Poach Agreements” or “Agreements”). Plaintiffs seek damages and injunctive relief for

Defendants’ unlawful restraint of competition in the market for Skilled Aerospace Workers.

        2.      Corporate Defendants P&W, Collins, Belcan, Cyient, PSI and QuEST perform

aerospace engineering work, either as aerospace engineering firms, or as suppliers of aerospace

engineering labor that is outsourced to aerospace engineering firms.




                                                  1
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 4 of 44




         3.     Defendants entered into their No-Poach Agreements at least as early as 2011 and

continued them until at least 2019. Throughout this time, Defendants intentionally concealed

their No-Poach Agreements from their employees, independent contractors, and the public at

large.

         4.     Defendants’ unlawful conspiracy was only revealed on December 9, 2021, when

the United States Department of Justice (“DOJ”) unsealed a criminal matter against Individual

Defendant Mahesh Patel. The DOJ alleges that Defendant Patel “served as a leader and primary

enforcer” of agreements “to allocate victim-employees in the labor market in the aerospace

industry working on projects for [P&W], specifically by agreeing to restrict the hiring and

recruiting of engineers and other skilled-labor employees between and among [the Corporate

Defendants] in the United States.” Affidavit in Support of Criminal Complaint and Arrest

Warrant, United States v. Patel, No. 3:21-mj-01189-RAR (D. Conn. Dec. 9, 2021), ECF No. 15

(“DOJ Aff.”), ¶ 11.

         5.     The No-Poach Agreements were broad in their application, covering all aerospace

engineers and similar skilled employees and independent contractors who worked for Defendants

in the United States and its territories.

         6.     The intended and actual effect of the No-Poach Agreements was to fix and

suppress Skilled Aerospace Worker compensation, and to impose unlawful restrictions on

Skilled Aerospace Workers’ mobility.

         7.     Defendants established these unlawful horizontal agreements through the work of

individuals at the highest levels of their respective organizations. They accomplished their goal

through verbal agreements, though their conduct, as well as through emails and in person

meetings. Defendants’ senior executives frequently reaffirmed, monitored, and enforced their

No-Poach Agreements throughout the class period.

         8.     The No-Poach Agreements were comprised of multiple overlapping recruiting

restrictions, all of which worked together to limit competition among the Defendants for Skilled

Aerospace Workers. These Agreements served together as part of a single scheme to restrict the

                                                 2
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 5 of 44




free movement of Skilled Aerospace Workers and suppress their compensation. The No-Poach

Agreements artificially extended the Skilled Aerospace Workers’ terms of employment at their

employers by preventing them from accessing information about other job opportunities and

benefits and compensation structures that they could use to negotiate better terms with their

existing employees. By engaging in these illegal No-Poach Agreements, Defendants eliminated

outside opportunities and stripped Skilled Aerospace Workers of any bargaining power. As a

result of Defendants’ illegal No-Poach Agreements, Skilled Aerospace Workers experienced

artificially suppressed wages and reduced job mobility for nearly a decade.

       9.      Defendants participated in these No-Poach Agreements, at the expense of their

employees, for their own financial benefit. By participating in these No-Poach Agreements,

Defendants were able to decrease their labor costs by suppressing wages for their skilled,

technical, and engineering personnel, who formed the backbone of their aerospace businesses.

       10.     Defendants regularly policed their unlawful No-Poach Agreements. By way of

example, in a January 2017 email, Defendant Patel of P&W contacted Defendant PSI after they

hired a Cyient employee stating “Please do not hire any partners employee, whether they

approached, or you approached. That is the only way we can pre[v]ent poaching and price war.”

DOJ Aff., ¶ 24. This express written agreement, and many others like this, makes the purpose of

the No-Poach Agreements clear: to restrict competition and prevent fair compensation of Skilled

Aerospace Workers. According to the DOJ, Patel instructed executives from other Defendants

not to recruit or hire employees from each other. Patel further served as the intermediary between

the other Defendants and was the chief enforcer of the No-Poach Agreements.

       11.     Defendants actively monitored and enforced their No-Poach conspiracy. If one

Defendant believed that another Defendant was defecting from the conspiracy, they would report

these perceived violations to Defendant Patel of P&W—the ringleader—who would direct the

defecting party to comply with the No-Poach Agreements. For example, while working at

UTAS, Defendant Natalia Khandros, who had worked closely with Patel previously, ensured

compliance with the Agreements by reprimanding individuals who hired skilled personnel from

                                                3
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 6 of 44




Belcan. Due to Patel’s status as a customer of the other outsource supplier Defendants, and their

own profit in participating in the unlawful No-Poach Agreements, the Defendants would course

correct and continue to abide by the Agreements.

       12.     The No-Poach Agreements were not reasonably tied to any separate, legitimate

business transaction or collaboration among the Defendants. Defendants relied on the No-Poach

Agreements for their financial self-interest, as reflected by their communications amongst each

other. Defendants’ compliance with the No-Poach Agreements was directly tied to the financial

benefits they received from suppressing wages. Specifically noting that discipline in “not hir[ing]

any partners employee” was essential to “pre[v]ent poaching and price war.” DOJ Aff., ¶ 24.

       13.     The No-Poach Agreements were categorically and intentionally concealed from

Plaintiffs and the proposed Class. If not for the DOJ investigation and unsealing of the arrest

warrant of Patel, the No-Poach Agreements could have been permanently hidden from the Class.

       14.     Defendants were well aware that their No-Poach Agreements were illegal.

Knowledge of their illegal actions is evidenced by Defendants’ own communications with each

other, including discussions where Defendants raised concerns about violating antitrust laws.

Defendants took affirmative steps to conceal their No-Poach Agreements and communications

about the Agreements. Despite knowing that No-Poach agreements are illegal, Defendants were

undeterred from continuing their illicit No-Poach Agreements.

       15.     Defendants’ No-Poach Agreements are the precise type of agreements that has

been established by antitrust enforcers in the United States to be unlawful. In 2016, the DOJ and

Federal Trade Commission (“FTC”) issued guidance about the unlawful and anticompetitive

nature of No-Poach Agreements. The guidance made clear that No-Poach Agreements between

and among employers to avoid soliciting or hiring each other’s employees “eliminates

competition in the same irredeemable way as agreements to fix product prices or allocate

customers, which have traditionally been criminally investigated and prosecuted as hardcore

cartel conduct.” Dep’t of Justice Antitrust Div. and Fed. Trade Comm’n, Antitrust Guidance for

Human Resource Professionals, at 4 (Oct. 2016).

                                                 4
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 7 of 44




       16.     The DOJ has continued to issue guidance to employers reiterating that no-poach

agreements are illegal. In 2019 the DOJ wrote:


       When companies agree not to hire or recruit one another’s’ employees, they are
       agreeing not to compete for those employees’ labor. Robbing employees of labor
       market competition deprives them of job opportunities, information, and the
       ability to use competing offers to negotiate better terms of employment. Under the
       antitrust laws, the same rules apply when employers compete for talent in labor
       markets as when they compete to sell goods and services.
No-Poach Approach, Dep’t of Justice Antitrust Div. (Sept. 30, 2019),
https://www.justice.gov/atr/division-operations/divisionn-update-spring-2019/no-poach-
approach (last visited Dec. 17, 2021).

       17.     Defendants worked on a variety of aerospace projects, including military and

government work. Government work is generally governed by the Federal Acquisition

Regulation (“FAR”).


       The FAR is the primary regulation for use by all executive agencies in their
       acquisition of supplies and services with appropriated funds. It became effective
       on April 1, 1984, and is issued within applicable laws under the joint authorities
       of the Administrator of General Services, the Secretary of Defense, and the
       Administrator for the National Aeronautics and Space Administration, under the
       broad policy guidelines of the Administrator, Office of Federal Procurement
       Policy, Office of Management and Budget.

Title 48, Chap. 1. (Federal Acquisition Regulations, (September 21, 2021)
https://www.acquisition.gov/far/forwarda).

       18.     Among other things, the FAR precludes anticompetitive activity with respect to

government contract bids. FAR 3.303. This includes any sort of anticompetitive practice. Id. at

3.301. (Examples of anticompetitive practices are collusive bidding, follow-the-leader pricing,
rotated low bids, collusive price estimating systems, and sharing of the business.).

       19.     Pursuant to the FAR regulations, specifically Section 3.303, Defendants were

obligated to report antitrust violations. Despite their knowing participation in the conspiracy, and

knowledge of its unlawful nature, no Defendant reported the No-Poach Agreements to the

Federal Government.


                                                 5
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 8 of 44




        20.     Defendants worked on a variety of government contracting work, including for

the United States military. Through working on these projects Defendants were subject to FAR

regulations including reporting antitrust violations.

        21.     The aerospace industry is specifically vulnerable to the anticompetitive conduct of

Defendants. The aerospace industry is characterized in part by high barriers to entry, high

barriers to exit, personal relationships between executives at companies such as P&W, and

numerous opportunities to collude.

       22.      Defendants’ No-Poach Agreements for Skilled Aerospace Workers unreasonably

restrained trade in violation of the Sherman act, 15 U.S.C. § 1. Plaintiffs Doe and Roe, on their

own and on behalf of the Class, bring this antitrust action to enjoin Defendants from continuing

their unlawful practices and to recover actual, compensatory, and treble damages, as well as costs,

attorneys’ fees, and interest. Plaintiffs demand a trial by jury.

                               II.     CRIMINAL PROCEEDINGS

       23.      On December 9, 2021, the DOJ unsealed a criminal antitrust action against

Defendant Mahesh Patel. Defendant Patel was the Director of Global Engineering Sourcing at

P&W, a subsidiary of Defendant Raytheon Technologies Corporation. In this role, Patel was

responsible for maintaining relationships with suppliers. The DOJ alleged that Patel conspired

with the other Defendants to restrict the hiring and recruiting of skilled, technical, and

engineering personnel with the goal and effect of suppressing skilled, technical, and engineering

personnel wages. See United States v. Patel, No. 3:21-mj-1189 (D. Conn. Dec. 9, 2021), ECF No.

15. In addition, six executives of the Defendants have been indicted for participation in the

alleged No-Poach Agreements to date. See Indictment, United States v. Patel, No. 3:21-cr-00220

(D. Conn. December 15, 2021), ECF No. 20 (“Indictment”).

        24.     As set forth in the DOJ affidavit and Indictment, the Corporate Defendants,

through their officers, directors, agents, employees, or representatives—including but not limited

to the Individual Defendants—agreed and enforced their agreements to not compete for the

services of their employees. Specifically, they agreed to restrict their hiring and recruiting for

                                                    6
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 9 of 44




aerospace skilled, technical, and engineering personnel amongst each other in the United States

and its territories.

                              III.   JURISDICTION AND VENUE

       25.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1337, and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       26.       This Court has personal jurisdiction over each of the Defendants pursuant to

Section 12 of the Clayton Act, 15 U.S.C. § 22, Federal Rule of Civil Procedure 4(h)(1)(A), and

the long-arm statute of the forum state because each resides in or has its principal place of

business in the State of Connecticut, employed individuals in this state during the Class Period,

and/or has had substantial contacts within the State of Connecticut in furtherance of the

conspiracy.

        27.      Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C.

§ 22 and 28 U.S.C. § 1391(b) and (c) because one or more of the Defendants transacted business,

was found, and/or resided in this District; a substantial part of the events giving rise to Plaintiff’s

claims arose in this District; and a substantial portion of the affected interstate trade and

commerce described herein has been carried out in this District.

                                      IV.     THE PARTIES

A.      Plaintiffs
       28.       Plaintiff John Doe (a pseudonym) was employed by QuEST Global Inc., from

November 2018 through April 2019. They performed their duties as a Design Engineer for

QuEST Global working on projects for Defendant Pratt & Whitney, including government

contract work. John Doe is a citizen of Connecticut.

       29.       Plaintiff James Roe (a pseudonym) was employed by Defendant Belcan LLC as

an engineer from 2005 to 2013. Plaintiff James Roe performed their duties working on projects

for Defendants P&W and Collins. After leaving Belcan, Plaintiff James Roe worked as an

engineering manager for Randstad NA, (“Randstad”). James Roe is a citizen of Connecticut.



                                                   7
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 10 of 44




B.      Defendant Pratt & Whitney

       30.      Defendant Raytheon Technologies Corporation (“Raytheon”) is the parent of

Defendant P&W. Raytheon is a Delaware corporation with its principal place of business located

in Waltham, Massachusetts. Raytheon is publicly traded.

       31.      P&W is a Delaware corporation with its principal place of business in East

Hartford, Connecticut. On information and belief, Defendant P&W is the identity of Company A

in the DOJ affidavit. See DOJ Aff., ¶ 5. P&W is a division of Raytheon and is one of the largest

aerospace engine design, manufacture, and service companies in the United States.

       32.      P&W employs thousands of engineers and other Skilled Aerospace Workers.

P&W relies upon these Workers to design, manufacture, and service its aerospace products. They

accomplish this by employing their own engineers and Aerospace Skilled Workers, as well as

outsourcing Skilled Aerospace Workers from aerospace engineering supply firms. When

outsourcing, P&W enters into agreements with engineering supply companies like Defendants

Belcan, Cyient, PSI, and Agilis to complete a project for P&W. During the Conspiracy Period,

P&W—either directly or through its business units, subsidiaries, agents, or affiliates—outsourced

engineering projects to supply companies.

       33.      The Supplier Defendant then assigns its own Skilled Aerospace Workers to

complete the project for P&W and then receives an agreed upon payment from P&W. Thus, P&W

competes with the Supplier Defendants to recruit and hire engineers while also receiving the

services of outsourced engineers.

       34.      P&W executive Mahesh Patel was indicted by the DOJ for his participation in the

No-Poach hiring agreements.

C.      Defendant Collins Aerospace

       35.      Collins is a division of Raytheon with its principal place of business in Charlotte,

North Carolina. Collins is one of the world’s largest suppliers of aerospace and defense products.

       36.      Collins operated under the name UTC Aerospace Systems, or UTAS from 2012 to

2018. In 2018 Rockwell Collins merged with UTAS which merged with Raytheon in 2020 and

                                                  8
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 11 of 44




proceeded to operate as Collins Aerospace. To the extent that the assets and liabilities of UTAS

remain, in whole or in part, with Collins (as UTAS’s successor in interest), Plaintiffs intend to

hold Collins liable for any of UTAS’s violations of Sherman Act § 1 that occurred during the

Class Period.

       37.      Collins employs thousands of engineers and other Skilled Aerospace Workers.

Collins relies upon these Workers to design, manufacture, and service its aerospace products.

They accomplish this by employing their own engineers and Aerospace Skilled Workers, as well

as outsourcing Skilled Aerospace Workers from aerospace engineering supply firms. When

outsourcing, Collins enters into agreements with engineering supply companies like Defendants

Belcan, Cyient, PSI, and Agilis to complete a project for Collins. During the Conspiracy Period,

Collins—either directly or through its business units, subsidiaries, agents, or affiliates—

outsourced engineering projects to supply companies.

       38.      The Supplier Defendant then assigns its own Skilled Aerospace Workers to

complete the project for Collins and then receives an agreed upon payment from Collins. Thus,

Collins competes with the Supplier Defendants to recruit and hire engineers while also receiving

the services of outsourced engineers.

D.      The Supplier Defendants

       39.      Defendant QuEST Global Services, NA (“QuEST”), an Ohio Corporation with its

principal place of business in East Hartford Connecticut. QuEST supplied Skilled Aerospace

Workers to P&W and Collins who worked on projects for P&W and Collins. On information and

belief, QuEST is the identity of Company B in the DOJ affidavit. Id., ¶6(a). QuEST executives

Robert Harvey and Harpreet Wasan were indicted by the DOJ for their participation in the No-

Poach Agreements.

       40.      Defendant Belcan is an Ohio Corporation with a principal place of business

located in Windsor, Connecticut. On information and belief, Defendant Belcan is the identity of

Company C in the DOJ affidavit. See id., ¶ 6(b). Belcan supplied engineers who worked on

projects for P&W, Collins, and other firms in the aerospace industry. Belcan competes with

                                                  9
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 12 of 44




P&W, Collins, and the other Supplier Defendants to recruit and hire Skilled Aerospace Workers.

Belcan further competes with the other Supplier Defendants to receive outsourced work from

P&W and Collins. The Supplier Defendants compete for these projects in part on price, i.e.,

compensation for the Skilled Aerospace Workers. Belcan executive Steve Houghtaling was

indicted by the DOJ for his participation in the No-Poach Agreements.

       41.      Defendant Cyient, formerly known as Infotech Enterprises Limited, is a

California Corporation with a principal place of business located in East Hartford, Connecticut.

On information and belief, Defendant Cyient is the identity of Company D in the DOJ affidavit.

See id., ¶ 6(c). Cyient supplied Skilled Aerospace Workers who worked on projects for P&W,

Collins, and other firms in the aerospace industry. Cyient competes with P&W, Collins, and the

other Supplier Defendants to recruit and hire Skilled Aerospace Workers. Cyient further competes

with the other Supplier Defendants to receive outsourced work from P&W and Collins. The

Supplier Defendants compete for these projects in part on price, i.e., compensation for the

Aerospace Skilled Workers. Cyient executive Tom Edwards was indicted by the DOJ for his

participation in the No-Poach Agreements.

       42.      Defendant Parametric Solutions, Inc. (“PSI”) is a Florida Corporation with a

principal place of business located in Jupiter, Florida. On information and belief, Defendant PSI is

the identity of Company E in the DOJ affidavit. See id., ¶ 6(d). PSI supplied engineers who

worked on projects for P&W, Collins, and other firms in the aerospace industry. PSI competes

with P&W, Collins, and the other Supplier Defendants to recruit and hire Skilled Aerospace

Workers. PSI further competes with Supplier Defendants to receive outsourced work from P&W

and Collins. The supply company Defendants compete for these projects in part on price, i.e.,

compensation for the Skilled Aerospace Workers. PSI executive Gary Prus was indicted by the

DOJ for his participation in the No-Poach Agreements.

       43.      Defendant Agilis is a Florida corporation with a principal place of business

located in Palm Beach Gardens, Florida. On information and belief, Defendant Agilis is the

identity of Company F in the DOJ affidavit. See id., ¶ 6(e). Agilis supplied engineers who worked

                                                 10
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 13 of 44




on projects for P&W, Collins, and other firms in the aerospace industry. Agilis competes with

P&W, Collins, and the other Supplier Defendants to recruit and hire Skilled Aerospace Workers.

Agilis further competes with other Supplier Defendants to receive outsourced work from P&W

and Collins. The supply company Defendants compete for these projects in part on price, i.e.,

compensation for the Skilled Aerospace Workers.

       44.      Defendants’ actions described herein are part of, and in furtherance of, the

unlawful conduct alleged. These actions were authorized, ordered, and/or enacted by the

Defendant’s various officers, agents, employees, or other representatives while actively engaged

in the management of Defendants through the course and scope of their employment with

Defendants’ actual and/or apparent authority.

E.      Individual Defendants

       45.      The individuals/entities named below directly participated as agents and/or co-

conspirators with the Defendants as they performed acts and made statements in furtherance of

the anticompetitive No-Poach conspiracy alleged herein. The Individual Defendants directly

participated in, approved of, and ratified the inherently wrongful anticompetitive conduct

described herein.

       46.      On information and belief, Defendant Mahesh Patel is a U.S. citizen who resides

in Glastonbury, Connecticut. Beginning in 2003, he was the manager and eventual Director of the

unit within P&W that managed and maintained the supplier relationships. He was the highest-

ranking employee within that unit and managed a team from his office in East Hartford,

Connecticut. Patel left P&W in 2020.

       47.      Defendant Natalia Khandros was the Global Engineering Center Poland Director

for Collins from October 2017 to January 2021. Prior to that, she worked at P&W from 1997 to

2011. After leaving P&W, Khandros worked as the Strategic Sourcing Manager for Collins, then

known as UTAS, prior to being acquired by Raytheon, from January 2012 to September 2017.

Natalia Khandros was directly involved in enforcing the No-Poach Agreements on behalf of

Collins Aerospace.

                                                 11
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 14 of 44




       48.     On information and belief, Defendant Steve Houghtaling is identified in the DOJ

Affidavit as “Co-conspirator 5” See id., ¶ 8(e). Beginning in 2013, Houghtaling was the General

Manager, Vice President, and by 2019 Senior Vice President for Belcan. He worked principally

from an office in Windsor, Connecticut.

       49.     On information and belief, Defendant Tom Edwards is identified in the DOJ

Affidavit as “Co-conspirator 6.” See id., ¶ 8(f). Beginning in or around 2010, Edwards was

employed at the company now known as Cyient, and since 2013 has been President for Cyient’s

North American operations. He worked principally from an office in East Hartford, Connecticut.

       50.     On information and belief, Defendant Gary Prus is identified in the DOJ Affidavit

as “Co-conspirator 7.” See id., ¶ 8(g). Beginning in 2015, Prus was Chief Operating

Officer/Executive Vice President and part owner of PSI. He worked principally from an office in

Jupiter, Florida. Prior to working for PSI, Prus had worked for 18 years at P&W.

       51.     On information and belief, Defendant Frank O’Neill is identified in the DOJ

Affidavit as “Co-conspirator 8.” See id., ¶ 8(h). In 1993, O’Neill founded and was part owner of

Agilis and served as its President and Chief Executive Officer. He worked principally from an

office in Palm Beach Gardens, Florida.

       52.     On information and belief, Defendant Robert Harvey is identified in the DOJ

Affidavit as Co-conspirator 1. See DOJ Aff., ¶ 8(a). Beginning in 2010, Harvey was the Senior

Vice President of Strategic Accounts at QuEST. In 2019, Harvey was the Senior Vice President

President-Global Business Head. Harvey worked from an office in East Hartford, Connecticut.

From 1998 to 2000, Harvey worked for Defendant P&W as a Senior Vice President. Indictment, ¶

11.

       53.     On information and belief, Defendant Harpreet Wasan is identified as Co-

conspirator 3 in the DOJ affidavit. Id., ¶ 8(c). Beginning in early 2015, Wasan was Vice

President/Strategic Client Partner of QuEST, and worked principally from offices in East

Hartford, Connecticut and Tokyo, Japan. Wasan left QuEST in early 2021. Prior to his roles at

QuEST, Wasan worked at Defendant P&W for approximately ten years. Indictment, ¶ 12.

                                                12
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 15 of 44




                          V.      AGENTS AND CO-CONSPIRATORS

       54.      Unnamed in this Complaint are additional co-conspirators, principles and agents

who have participated with Defendants in the offenses alleged herein this Complaint and have

performed acts and made statements in furtherance of the anti-competitive conduct herein alleged.

       55.      Various persons, partnerships, sole proprietors, firms, corporations, and

individuals not named as defendants in this lawsuit, the identities of which are currently

unknown, have participated as co-conspirators with Defendants in the offenses alleged herein this

Complaint and have performed acts and made statements in furtherance of the anti-competitive

conduct herein alleged.

       56.      The anticompetitive and unlawful acts alleged against the Corporate Defendants

in this class action complaint were authorized, ordered, or performed by the Defendants’

respective officers, agents, employees, representatives, or shareholders while actively engaged in

the management, direction, or control of the Defendants’ businesses or affairs. The respective

Defendant parent entities identified herein exercise dominance and control over all of their

respective Defendant subsidiary entities and those respective subsidiaries have a unity of purpose

and interest with their respective parents.

       57.      To the extent any respective parent Defendant did not keep a tight rein on its

respective subsidiary Defendant, it had the power to assert control over the subsidiary if the latter

failed to act in the parent’s best interest. The respective parent Defendants and their respective

subsidiaries, affiliates and agents thus operated as a single unified entity.

       58.      The Defendants’ agents operated under the explicit and apparent authority of their

principals.

       59.      Each Defendant acted as the principal, agent, or joint venture of, or for other

Defendants with respect to the acts, violations, and common course of conduct alleged herein.

       60.      Defendants are jointly and severally liable for the acts of the co-conspirators

named below and other co-conspirators whether or not named as defendants in this Complaint.



                                                   13
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 16 of 44




                                VI.     FACTUAL ALLEGATIONS

 A.      Interstate Commerce

        61.       During the Class Period (defined below), Defendants employed members of the

Proposed Class in Connecticut, Vermont, Massachusetts, Illinois, Ohio, Georgia, Florida, Puerto

Rico, Kentucky, and throughout the United States, including in this District.

        62.       The No-Poach Agreements have substantially affected interstate commerce and

has caused antitrust injury to Plaintiffs and members of the Class throughout the United States

and its territories.

 B.      Market for Aerospace Engineering Services

        63.       The No-Poach Agreements are per se illegal under the federal antitrust laws, and

thus, there is no requirement to define the relevant product or geographic markets. As the DOJ

made clear in guidance it issued in 2016: “Naked wage-fixing or no-poaching agreements among

employers, whether entered into directly or through a third-party intermediary, are per se illegal

under the antitrust laws.” See Dep’t of Justice Antitrust Div. and Fed. Trade Comm’n, Antitrust

Guidance for Human Resource Professionals, at 4 (Oct. 2016). But, to the extent a relevant

market need be defined for any reason, it is for the services of aerospace engineers and similar

skilled employees in the United States and its territories.

        64.       The United States boasts the largest aerospace industry in the world. This includes

military aircraft, missiles, space exploration, commercial airliners, and several other markets. The

industry directly employs approximately 500,000 workers in scientific and technical jobs, and

aviation continues to be considered a fast-growing industry in the United States.

        65.       Each Defendant is a key participant in the aerospace industry in the United States.

Defendants compete with one another to recruit and hire engineers and other Skilled Aerospace

Workers.

        66.       In a competitive market, Defendants would be required to compete with one

another to locate, attract, hire, and retain the highly skilled employees that are aerospace

engineers and similarly skilled workers. These aerospace engineers and skilled employees are the

                                                  14
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 17 of 44




heart of the industry, being responsible for directing the design, manufacture, testing of aircraft

and similar products, as well as assessing the management concerns of new projects, such as

technical feasibility, conforming to engineering principles, satisfying customer requirements,

legal requirements, and maintenance. There is no aerospace engineering industry without

aerospace engineers and other skilled workers.

       67.      The United States aerospace industry employs roughly 2 million people and

represents about 1.4% of all employment in the United States.

       68.      As of May 2020, there were approximately 60,000 aerospace engineers in the

United States with the median annual wage during the same year being about $120,000.

       69.      In the United States, aerospace engineers and similarly skilled workers can be

employed either directly by the company that designs and manufactures aerospace products, or

they can be employed by outsource engineering supply companies who complete projects on

other firms’ behalf with their own engineers, pursuant to an agreement. The supply company, in

return, receives a payment from the original aerospace firm.

       70.      The engineers hired by Defendants have specialized skills and qualifications.

Aerospace engineers require undergraduate and/or graduate degrees and are often specifically

specialized in aerospace engineering.

       71.      Advanced aerospace engineering employment normally requires a Professional

Engineer license. Licensing is generally provided at the state level and requires an accredited

engineering degree, work experience, and passing performance on both the Fundamentals of

Engineering Exam and the Professional Engineering Exam. Both exams are required in

Connecticut, where a number of the Corporate Defendants hold their chief operations. Upon

entering the workforce, engineers further develop specialization based on the specific work tasks

they do. For example, engineers can become specialized in mechanical engineering,

software/systems engineering, or other specialized fields. Another level of specialization can

further occur, focusing on particular functions within the engineering space, such as aerodynamic

fluid flow, structural design, propulsion, and similar specialties. These specializations are tied to

                                                  15
          Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 18 of 44




aerospace work and are incapable of being directly transferred and utilized in other engineering

fields.

          72.      Due to this specialization and training requirements, engineers are only able to

find acceptable alternatives in similar engineering roles. This means that when undercompensated

in their current positions it is extremely difficult for engineers to leave. Other options are simply

not available to engineers with their particular skillset. Specialization further increases the value

of an aerospace engineer’s work due to the scarcity of experienced engineers within specific

specializations.

          73.      The relevant geographic market is the United States and its territories, and the

relevant labor market is all skilled, technical, and engineering workers in the United States.

          74.      Engineers in the United States and its territories cannot reasonably substitute their

aerospace engineering jobs in the United States and its territories for foreign jobs, even in the

same field. Foreign positions are less desirable and valuable, due to language barriers, visa

requirements, relocation costs, and distance from family members amongst a host of other

difficulties. While foreign engineers have immigrated to the United States to participate in the

market, upon information and belief, engineers in the United States do not frequently take

positions in the markets outside of the United States and its territories.

          75.      There also exists a labor shortage for specialized and qualified engineers.

According to the Aerospace Industries Association (“AIA”) in 2016, the leading trade association

for the aerospace industry, the field was at risk due to looming retirement and the increased work

and skill requirements for employment. In a competitive market, the shortage of such skilled

employees would allow aerospace engineers and similarly skilled workers to negotiate for higher

salaries in order for aerospace companies to retain them as the higher demand for engineers would

result in better job offers.

 C.       Defendants Have Market Power

          76.      Defendants have the ability, collectively, to profitably suppress compensation to

Aerospace Skilled Workers. That is, Defendants can impose a small but significant decrease in

                                                    16
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 19 of 44




pay or compensation without losing sufficient numbers of Aerospace Skilled Workers to defeat

the effects of the pay decrease. Likewise, Defendants can maintain pay below a competitive level

without losing sufficient numbers of Aerospace Skilled Workers to defeat the effects of the pay

decrease.

       77.      Defendants comprise some of the largest aerospace companies in the United

States. Over the years, Raytheon (through Collins) and P&W have garnered substantial market

power. In fiscal year 2020, P&W had net sales of approximately $16 billion with Collins having

net sales of approximately $19 billion according to Raytheon Technologies Corporation Form 10-

K for the period ending December 31, 2020, at p. 4. Raytheon alone is a major player in the

United Space aerospace industry, and in conjunction with the Supplier Defendants possess

substantial market power throughout the industry.

       78.      In competition economics, market power is the ability to profitably charge prices

above the competitive level. In the product market, companies that can do this are known as

“monopolies.” On the labor market side—where employers are buyers of labor and workers are

the “sellers”—an employer with market power is known as a “monopsonist.” Another way of

understanding monopsony power is to imagine a labor market in which any attempt to pay a

lower wage does not result in an inability to hire workers, because workers have limited options

for switching jobs.

       79.      Employers can obtain market power by entering into No-Poach agreements

because through them they are agreeing to eliminate competition for workers. This inhibits a

worker’s ability to negotiate better compensation packages because they stop accessing

information about other job offers and the value of their skills.

       80.      In the absence of competition, employers do not need to raise compensation to

respond to workers’ negotiation efforts or ward of offers from competitors simply because the

outside offer is non-existent.

       81.      By entering into these No-Poach Agreements, Defendants were able to exploit

collective market power and successfully suppressed compensation of Plaintiffs and the Class.

                                                  17
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 20 of 44




Defendants’ demonstrated ability to profitably suppress compensation is evidence of Defendants’

collective market power in the relevant market described above.

D.      How the Aerospace Market Looks Without a No-Poach Agreements

       82.      Skilled Aerospace Workers are indispensable to Defendants who need their

services to compete for and complete lucrative projects. In a competitive market, without illegal

anticompetitive No-Poach agreements, Defendants would aggressively compete for skilled,

technical, and engineering personnel by recruiting and hiring from each other. Defendants would

be compelled to offer better compensation packages and opportunities—equipping Skilled

Aerospace Workers with bargaining power and information—to retain and develop talent. This

information symmetry would have armed Skilled Aerospace Workers with the ability to negotiate

raises and more favorable terms with their employers or with competing employers.

       83.      Robust lateral recruiting is an important aspect of competitive labor markets, and

its forced absence decreases efficiency. Companies value skilled employees who are capable at

their job, and will see competitor employees as qualified, skilled, hardworking, and less of a risk

than currently unemployed applicants or those seeking employment outside their current jobs.

Through lateral hiring, a company gains efficiencies and mitigates the risks and onboarding costs

of signing and training a new hire. In the aerospace industry, Skilled Aerospace Workers, and

particularly engineers, work on similar projects throughout their careers and come with

institutional knowledge of projects and technical skills.

       84.      Recruiting amongst competitors is natural in labor markets; companies

acknowledge that skilled, technical, and engineering personnel working at competing firms are

the most attractive candidates due to their skills and experience. In the absence of their

anticompetitive agreements, Defendants would have had to aggressively compete with each other

to retain and attract skilled talent. In economic terms, had Defendants not manipulated the labor

market, Defendants would have had to offer better compensation packages and benefits.

       85.      Competition for labor amongst Defendants ensures a flow of information that

grants workers bargaining power and leads to negotiations that result in competitive market

                                                  18
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 21 of 44




equilibrium. Free markets ensure that workers are employed to roles that fit them best, and result

in efficient allocation of resources, higher quality products, and greater innovation.

       86.       More importantly, when workers have the potential to switch jobs—often known

as job mobility—the benefits of the negotiation process are felt across the company, even if the

person did not end up leaving. This is due to internal equity policies, a philosophy that most

companies adhere to in order to maintain a sense of cohesiveness and fairness within their

workforce. These types of policies, in which people who do similar jobs are paid similarly, lead to

a compensation structure that ensures that when one worker accesses a higher salary, there is a

shared effect across positions.

       87.       These competitive market dynamics impact the entire labor force. By eliminating

competition amongst themselves, Defendants deprived workers of outside options thus effectively

suppressing wages of all Skilled Aerospace Workers.

       88.       Without the No-Poach Agreements Defendants would have been incentivized to

pay their employees higher wages to prevent them from seeking or accepting competing

opportunities.

E.      Defendants’ No-Poach Agreements

       89.       Beginning at least in 2011, and continuing until September 2019, the Corporate

Defendants, through their officers, directors, agents, employees, or representatives, agreed not to

compete for the others’ skilled, technical, and engineering personnel in the aerospace industry

working on projects for P&W and Collins. Defendants entered, periodically reaffirmed,

monitored, and enforced their illegal No-Poach Agreements, the primary purpose of which was to

restrict their hiring and recruiting of workers from each other.

       90.       Defendant P&W served as the leader and primary enforcer through Individual

Defendant Mahesh Patel, who was the manager and later director of P&W’s unit that managed its

relationship with Supplier Defendants.

       91.       The No-Poach Agreements constituted a series of complementary and interlinked

hiring and recruiting restrictions designed to limit the competition for Skilled Aerospace Workers

                                                  19
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 22 of 44




in the aerospace engineering industry. These illegal Agreements were effectuated to depress

wages and restrict the free movement of the Workers.

       92.      The No-Poach Agreements served their purposes of depressing Aerospace Skilled

Worker wages through various means. First, the Agreements resulted in artificially extended

terms of employment for Aerospace Skilled Workers at a particular employer, resulting in long

term benefits for employers who could retain the same talent for extended periods of time at

suppressed costs. Second, they resulted in an information asymmetry as Aerospace Skilled

Workers who were unaware of the No-Poach Agreements, were unable to leverage their positions

and advocate for better terms of employment both with their current and future employers.

       93.      The No-Poach Agreements were motivated by Defendants shared financial goals

and were put in place to increase Defendants’ profits at the expense of the Plaintiffs and the Class.

The hiring and recruiting restrictions were crafted by Defendants to serve their shared financial

motivations and were aimed at depressing wages for Aerospace Skilled Workers. Through the

No-Poach Agreements with P&W, Collins and each Supplier Defendant and other co-conspirator

supplier agreed to not hire workers from other firms that were engaged by P&W and Collins via

outsourcing contracts. P&W enforced the No-Poach Agreements by threatening to withdraw its

business if any Supplier Defendants defected from the Agreements and hired or recruited each

other’s employees. Collins similarly enforced the Agreements with Belcan and UTAS, refusing to

approve skilled workers for working on Collins’ projects if they were previously employed by a

competitor. Collins would also pressure supply firms to terminate employees who attempted to

recruit competitors’ workers, regardless of if the competitor’s worker reached out on their own

initiative. At every stage of the conspiracy, P&W and Collins ensured that the labor market for

Aerospace Skilled Workers was suppressed and did not operate freely. By entering individual

agreements with P&W and Collins, each Supplier Defendant became a member of the

overarching No-Poach Agreements orchestrated by P&W and was assured by Defendant Patel

that P&W, and others, that Defendants would enforce and monitor the No-Poach Agreements.



                                                 20
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 23 of 44




 F.       Defendants Worked Together to Ensure Compliance with the No-Poach Agreements
          Specifically to Suppress Wages

       94.      Defendants Patel and Khandros directed managers and executives at the Supplier

Defendants to not hire one another’s skilled, technical, and engineering personnel, i.e., Skilled

Aerospace Workers, in furtherance of the No-Poach Agreements. Supplier Defendants knew and

understood that these restrictions applied to all the firms in the conspiracy. Similarly, Defendant

Khandros worked previously with Patel and would enforce the Agreements between UTAS and

Belcan. Patel and Khandros would make these communications directly with the Supplier

Defendants and other co-conspirator and would further enforce the Agreements.

       95.      For example, in 2016, Patel emailed Defendant Prus, the Chief Operating Officer,

Executive Vice President and part owner of Defendant PSI. He stated: “Last time we talked you

assured me that you will not hire any [P&W] partners employee [sic]. This must stop, otherwise

others will also start poaching your employees.” DOJ Aff., ¶ 29.

       96.      Patel further discussed the No-Poach Agreements with multiple suppliers at the

same time, ensuring that each supplier had full knowledge of the shared conspiracy. For example,

in December 2015, P&W hosted a dinner that was attended by Patel and Supplier personnel,

including QuEST, Belcan, and Cyient. These representatives included individuals at the highest

levels of the supplier companies, such as Tom Edwards (the President of the North America

Operations for Cyient), Harpreet Wasan (the Vice President/Strategic Client Partner for QuEST),
and a General Manager for QuEST. An executive of Belcan, who also attended the dinner, sent an

email to Defendant Houghtaling and other Belcan employees to inform them of Patel’s

instructions. The email states “Mahesh did take the stage at the end ... no poaching of each others’

[sic] employees.” See Indictment, ¶ 22(a).

       97.      Beyond Patel, the Supplier Defendants also communicated amongst each other to

preserve and enforce the No-Poach Agreements. For example, in December 2017, high level

QuEST employees exchanged emails with Defendant Houghtaling of Belcan discussing attempts

from Belcan to recruit QuEST employees. Specifically, QuEST stated “I would like to understand


                                                 21
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 24 of 44




if you are planning to address this immediately, or I will be forced to escalate to our mutual

customers.” Robert Harvey of QuEST responded: “Spot on. This cannot be tolerated! We need to

move quickly and forcibly when this is about to happen.” To further enforce the Agreements,

Harvey later wrote for the conspirators to “Push hard to have it reversed and consequences for

[Belcan].” Indictment, ¶ 28(f).

       98.      In September 2019, after Agilis had hired four Cyient employees, Defendant Tom

Edwards, the President for Cyient’s North America Operations, communicated with Defendant

Frank O’Neil, the founder, President, and Chief Executive Officer of Agilis, and told him to stop

“actively recruiting” Cyient’s employees. DOJ Aff., ¶ 34; Indictment ¶ 27(a). Edwards stated, “I

wanted to ask if your team could refrain from actively recruiting our employees going forward,”

and, restated the terms of the No-Poach Agreements by stating “I flat out ask our teams not to hire

people from the other suppliers.” Indictment ¶ 27(a). O’Neil agreed, stating that their “general

aim is NOT to recruit from the local ‘competition’ because no one wins; salaries rise, the

workforce get unstable, and our margins all get hurt.” Id. The Suppliers would explicitly discuss

amongst themselves their attempts to shut down solicitation of each other’s employees to reduce

labor costs and would criticize and force compliance if any attempted to deviate from the terms of

the No-Poach Agreements.

       99.      Likewise, throughout the class period, Defendant Khandros enforced the

Agreements for UTAS projects. When it came to light that skilled personnel were hired from

Defendant Belcan to work on projects on behalf of UTAS, Defendant Khandros personally

reprimanded the individuals responsible for onboarding those employees. When asked why those

individuals were not to recruit skilled personnel from Belcan, Khandros responded that Belcan

complained and that hiring skilled personnel from Belcan was prohibited.

       100.     Defendants maintained internal policies to further the No-Poach Agreements.

Belcan maintained a document entitled “Policy 10.” Policy 10 explicitly instructed Belcan hiring

personnel to not hire any applicant with prior experience with the other Supplier Defendants. If an



                                                 22
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 25 of 44




applicant had prior experience, the managers were not to return calls or offer interviews to the

applicant.

       101.     Collins repeatedly refused to allow former employees of its co-conspirators to

work on projects outsourced by Collins. In supplying engineers for projects outsource by Collins,

Collins would have to approve the workers prior to the commencement of work. While operating

under the name UTAS, Collins through Defendant Khandros, would not approve hires of

qualified engineers for UTAS projects due to past employment history with Defendant Belcan.

Despite being approached by former Belcan engineers for positions, managers were unable to

have those workers approved solely due to their previous status as Belcan employees. Collins

would enforce the Agreements by pushing against personnel at supplier firms if they attempted to

hire co-conspirator employees to work on outsourced work from Collins. Former employees at

Randstad, responsible for bringing on engineers for projects on behalf of Collins, were

reprimanded by Defendant Khandros if they suggested otherwise qualified engineers who

previously had worked at co-conspirators. After seeking explanations as to why these engineers

were not accepted, Khandros would not provide a reason beyond previous work for co-

conspirators. If the recruiters continued to suggest engineers who previously worked for co-

conspirators, Collins would pressure their employers to terminate the recruiter. This pressure from

Collins worked, and the recruiters were terminated. This would include requesting that recruiters

not speak with UTAS staff they provided, revoking access to UTAS facilities, and similar tactics

to pressure Supplier Defendants to adopting the illegal No-Poach Agreement.

G.      Defendants Shared the Same Anticompetitive Goals

       102.     Defendants have been clear about the purpose and goal of their No-Poach

Agreements. In communications with each other, they frequently cited their potential cost savings

from suppressing labor costs and how, in the absence of their Agreements, Skilled Aerospace

Workers would be able to effectively pursue higher compensation.

       103.     For example, in January 2017, Patel contacted PSI after it had hired an employee

of Cyient and instructed: “Please do not hire any partners employee, whether they approached, or

                                                 23
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 26 of 44




you approached. That is the only way we can pre[v]ent poaching and price war.” DOJ Aff., ¶ 24;

Indictment ¶ 27(b). That email was then shared with Defendant Prus, the Chief Operating Officer,

Executive Vice President, and part owner of PSI. In March of 2017, those individuals further

discussed the No-Poach Agreements with another Supplier, noting that “MAHESH says he does

not want the salaries to increase.” DOJ Aff., ¶ 24.

        104.       Further, in April of 2017, a General Manager from QuEST sent an email

informing that Cyient had hired a previous QuEST Engineer. The General Manager pushed

against the hiring, a normal aspect of a competitive market, noting that it was “against our

Agreements with our employees and against our known expectations of [P&W] for the

cooperation of the outsource companies.” The email further stated that allowing firms to recruit

each other’s employees, again a normal market function, would “drive the price structure up.” Id.,

¶ 25; Indictment ¶ 27(c). Patel then reached out to the General Manager from QuEST and

Defendant Edwards, the President of North America Operations from Cyient and marked them as

“required” attendees on an invitation for a “private discussion” in his office the next day. DOJ

Aff., ¶ 25.

        105.       In 2013 Belcan partnered with P&W in an agreement that provided a cap on

hourly compensation for workers working on P&W projects. The compensation was limited to

$67 an hour for Belcan. In return, Belcan was considered a “Center of Excellence,” for P&W and

became a main supplier for P&W. This was significantly below the market rate for engineers and

other skilled workers.


 H.           Defendants Pratt & Whitney, Collins Aerospace, Natalia Khandros and Mahesh Patel
              Policed and Enforced the No-Poach Agreements Amongst Supplier Defendants


        106.       P&W, through Patel, enforced the No-Poach Agreements and did not attempt to

hire, solicit, recruit, or otherwise procure the valuable Skilled Aerospace Workers outside the No-

Poach Agreements. Collins, through Khandros, also enforced the No-Poach Agreements to




                                                 24
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 27 of 44




prevent the solicitation or recruitment of valuable Skilled Aerospace Workers from conspirators

of the No-Poach Agreements.

       107.     Defendant Suppliers would inform Patel about Suppliers who were not abiding by

the No-Poach Agreements and rely on Patel to assist in preventing defections from the No-Poach

Agreements. Patel was the chief enforcer and was tasked with deterring future violations by

Supplier Defendants. Through these Agreements with Patel, each Defendant was privy to and

participated in the No-Poach Agreements. Collins, through Khandros, would similarly enforce the

No-Poach Agreements by refusing to hire skilled workers for Collins’ projects if they worked

previously with another of the conspirators. Collectively, these Agreements were designed to and

succeeded in harming the Plaintiffs and the proposed Class.

       108.     Throughout 2013 to 2014, Collins repeatedly refused to hire previous Belcan

engineers seeking employment from Randstad for projects despite working with those same

engineers on other projects. When asked by Randstad personnel for why they were unable to hire

those Belcan engineers that reached out to them, Collins would blame the decision on Belcan.

       109.     In May 2016, Houghtaling was informed that “[a]nother employee” had been

hired by PSI to work on an outsourcing project for a company other than P&W. Id., ¶ 27.

Houghtaling was asked if he “ever discuss[ed] the last one with Mahesh.” Id. Houghtaling

provided assurances that Patel was handling it and “said he’d talk to [PSI] about it.” Id.

       110.     In November 2016, Prus, Executive Vice President and part owner of PSI, wrote

an email to Patel complaining about Belcan “actively recruiting [PSI] employees.” DOJ Aff., ¶

27; Indictment, ¶¶ 22(d), 28(g). In response, Patel stated, “[w]e must not poach each other

partners employee. Please communicate to [Belcan] HR not to interview or hire active employees

working on [P&W] work.” DOJ Aff., ¶ 27; Indictment, ¶ 22(d).

       111.     In a February 2017 email, Wasan, the Vice President/Strategic Client Partner for

QuEST, upon hearing that Belcan was attempting to hire one of their employees, stated that they

were “not allowed to poach any of our employees and I will plan to block this immediately. I will

send this to Mahesh today.” DOJ Aff., ¶ 28; Indictment, ¶ 22(b). Wasan immediately sent to Patel

                                                 25
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 28 of 44




an email stating “I am very concerned that [Belcan] believes they can hire any of our employees.

…. Could you please stop this person from being hired by [Belcan]?” DOJ Aff., ¶ 28; Indictment

¶ 22(b). Managing communications with Patel to enforce the No-Poach Agreements was a

responsibility of Wasan’s at QuEST. DOJ Aff., ¶ 28.

       112.     In January 2017, a representative from Cyient emailed Patel to inform him that

PSI had hired a Cyient engineer. Patel wrote to PSI stating: “Last time we talked you assured me

that you will not hire any [P&W] partners employee. This must stop, otherwise others will also

start poaching your employees. Please advise.” DOJ Aff., ¶ 29; Indictment, ¶ 25(b). Throughout

all these examples Patel was directly involved in maintaining and enforcing the No-Poach

Agreements among Defendants.

       113.     Patel’s enforcement efforts proved effective in enforcing compliance of the No-

Poach Agreements among the Defendants. For example, after a Belcan executive notified Patel

that PSI was recruiting and hiring Belcan engineers, Patel sent an email to Prus, the Executive

Vice President and part owner of PSI. Patel wrote: “You had assured me that [PSI] will never

soliciting [P&W’s] long term partners employees . . . Please send me in writing that proper steps

has taken place to curtail this practice.” DOJ Aff., ¶ 31; Indictment ¶ 28(e). Prus later commented

to others that Belcan “is making a big stink right now over any solicitations.” DOJ Aff., ¶ 31.

However, faced with Patel’s enforcement efforts, Prus directed his employees to “[p]lease stop

speaking to any [Belcan] or other [P&W] supplier companies about transitioning to [a PSI] Office

immediately.” DOJ Aff., ¶ 31; Indictment, ¶ 28(e).

       114.     Beyond acting as the go between for the Supplier Defendants, Patel and through

him, P&W would use its status as a shared customer among the other Defendants to enforce its

anticompetitive No-Poach Agreements.

       115.     In June 2018, Patel learned of Belcan’s plans to hire a QuEST employee.

Afterwards, internal Belcan emails including from Defendant Houghtaling stated that QuEST

“complained to [P&W] that we are ‘stealing’ their people, and [P&W] threatened to pull all Pos

from [Belcan] if we hire him.” DOJ Aff., ¶ 33. A day later, Defendant Houghtaling emailed Patel

                                                 26
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 29 of 44




and said: “Per our conversation yesterday, this email is to confirm that we have rescinded the

offer letter for” the Engineer at issue. Id.; Indictment, ¶ 26. Patel was able to use the threat of

losing P&W outsourcing business to continue the unlawful No-Poach Agreements. P&W would

further agree not to hire from their supplier Defendants. A QuEST employee, upon being solicited

heavily by P&W was quickly removed from consideration after QuEST complained to Patel.

Patel continued to enforce these Agreements with Defendants and workers remained unable to

secure positions at other firms.

       116.     On information from anonymous sources, Collins was directly involved in the

conspiracy and would not permit the soliciting or hiring of skilled workers amongst all

Defendants.

       117.     Collins would use their status as the outsourcing company to ensure that all

workers on Collins projects were not previous employees of other conspirators. As the

outsourcing aerospace firm, Collins maintained oversight of all employees from other firms who

would work on projects Collins offered. If an employee were to be hired that had previous

experience with another conspirator, Collins would reject them despite being skilled and qualified

workers. Collins would pressure employees from other firms to not hire from competitors, and if

they attempted to do so, would pressure the firms to terminate those recruiters.

       118.     Due to the No-Poach Agreements wages were substantially suppressed.

Defendant Belcan entered into an agreement with P&W in 2013 that had Belcan agree to charge a

flat rate of $67 an hour for all workers who worked on P&W projects. This substantially reduced

potential compensation for workers. As an example, senior engineers could expect at most

compensation of $35 an hour, resulting in significantly lower year end salaries. Specifically, the

average compensation for a senior engineer in Connecticut is $53 an hour. Due to the No-Poach

Agreements, Belcan engineers who wished for higher salaries, consistent with market rates, were

unable to find substitute employment.

       119.     As a direct result of the No-Poach Agreements, aerospace workers were unable to

find substitute employment, and were heavily restricted in their labor mobility. One employee of

                                                   27
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 30 of 44




P&W was unable to find work at any other Defendant after leaving and was forced to return to

P&W. These Agreements suppressed wages, limited mobility, and prevented workers from

finding substitute employment.

 I.      Defendants Were Fully Aware Their Conduct Was Unlawful

        120.     At least as early as January 2016, prior to evidence cited above, managers and

executives at Belcan began raising concerns with Patel that the conduct of the Defendants was

unlawful. Specifically, they addressed the illegality of their actions in light of the antitrust laws.

        121.     In January 2016, a General Manager for Belcan received an email describing a

civil lawsuit in which several major companies were accused of “engaging in illegal anti-

poaching agreements……the companies involved had promised each other not to actively recruit

employees from one another.” DOJ Aff., ¶ 35. The General Manager then scheduled a meeting

with Patel, including as an item “[i]nformal poaching agreement between outsource suppliers.

Recent Apple lawsuit because these agreements are illegal” (an apparent reference to the 2015

settlement in In re High-Tech Employee Antitrust Litigation, No. 5:11-cv-2509 (N.D. Cal.)). Id.

        122.     Concerns about the unlawful nature of the No-Poach Agreements arose again in

February 2017. In a series of emails, Belcan’s Human Resources Director and the General

Manager discussed the No-Poach Agreements and hiring practices of Defendants. The HR

Director noted her concern that “there is an anti-trust issue by us turning people away solely

based on their previous employer.” Id., ¶ 37. The General Manager agreed, noting “[P&W]

(Mahesh Patel) is asking (insisting) that we not interview anyone currently employed by our

competitors . . . I’m not sure if this is legal, but that is what they are requesting we do.” Id.

Despite being made aware of Belcan’s concerns, Patel continued to enforce the No-Poach

Agreements and no Defendant ceased complying with the Agreements.

        123.     Belcan internal emails after a call with Patel stated: “spoke with Mahesh this

afternoon. He understands our concern with antitrust compliance, however, he still requested that

our recruiters not speak with applicants who are current[ly] employed with [Belcan] competitors.”

Id. Two weeks later, a Belcan employee sent an email to the Belcan HR Director, the General

                                                   28
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 31 of 44




Manager, and the Vice President of Human Resources. The sole content of the email was a link to

a website that described a class action antitrust lawsuit concerning a “conspiracy” between

companies who had agreed to “restrict[ ] recruiting of each other’s employees.” Id., ¶ 38.

       124.     Despite knowing that these Agreements violated the antitrust laws, and despite

being involved in government contracting, Defendants at no point reported their antitrust

violations to the United States Government and continued to conceal their No-Poach Agreements

from Plaintiffs, class members, and the public at large.

       125.     Defendants worked on a variety of aerospace projects, including military and

government work. Government work is generally governed by the Federal Acquisition Regulation

(“FAR”) which imposes obligations upon those engaged in government work to report antitrust

violations.

       126.     The FAR is the primary regulation for use by all executive agencies in their

acquisition of supplies and services with appropriated funds. It became effective on April 1, 1984,

and is issued within applicable laws under the joint authorities of the Administrator of General

Services, the Secretary of Defense, and the Administrator for the National Aeronautics and Space

Administration, under the broad policy guidelines of the Administrator, Office of Federal

Procurement Policy, Office of Management and Budget. Title 48, Chap. 1. (Federal Acquisition

Regulations, (September 21, 2021) https://www.acquisition.gov/far/forwarda).

       127.     Among other things, the FAR precludes anticompetitive activity with respect to

government contract bids. FAR 3.303. This includes any anticompetitive practices. Id. at 3.301.

(Examples of anticompetitive practices are collusive bidding, follow-the-leader pricing, rotated

low bids, collusive price estimating systems, and sharing of the business.).

       128.     Pursuant to the FAR regulations, specifically Section 3.303, Defendants were

obligated to report antitrust violations. Despite their knowing participation in the conspiracy, and

knowledge of its unlawful nature, no Defendant reported to the No-Poach Agreements to the

Federal Government.



                                                 29
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 32 of 44




       129.     Defendants worked on a variety of government contracting work, including for

the United States military. Through working on these projects Defendants were subject to FAR

regulations including reporting antitrust violations.

       130.     Despite these warnings, Defendants did not remove themselves from the No-

Poach Agreements nor alerted the Plaintiffs or Class by going public. Defendants did not report

their antitrust violations to the proper authorities despite their work as government contractors.

J.      Aerospace Market and Indirect Market Evidence of Collusion

       131.     In addition to the direct evidence cited above, circumstantial evidence also

supports a finding of an anticompetitive No-Poach Agreements. The market for Skilled Aerospace

Workers in the aerospace industry is particularly susceptible to collusion by design. This is true

because the market for Skilled Aerospace Workers involves: (1) numerous opportunities for

companies to collude; (2) high barriers of entry for both aerospace firms and suppliers; (3) high

exit barriers for engineers; and (4) inelastic demand for and a lack of substitutes for Skilled

Aerospace Workers.

       132.     Numerous opportunities for collusion: Defendants had multiple opportunities to

conspire throughout their business relationship. As described above, the senior executives of

Defendants frequently communicated with Defendant P&W and Defendant Patel for the purpose

of furthering and enforcing their No-Poach Agreements. Patel issued threats to non-conforming

members of the conspiracy, threating to withdraw business from P&W, if any members defected

from the illegal Agreements. Defendant Khandros, on behalf of Collins, then known as UTAS,

similarly issued threats to non-conforming members of the conspiracy to attempted defectors

from the conspiracy. Beyond interactions with P&W, the Supplier Defendants also directly

communicated with each other to enforce the Agreements.

       133.     In addition to emails, Defendants regularly communicated and colluded at in

person meetings and through phone conversations. Representatives from each Defendant

communicated and had opportunity to discuss and enforce the Agreements. For example, P&W

would routinely present awards to its most valued suppliers—including the Defendant Suppliers.

                                                  30
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 33 of 44




The awards would be presented at gatherings where Defendants’ senior executives, including the

Individual Defendants, would have opportunities to communicate with each other in order to

further the anticompetitive Agreements.

        134.    In 2017, Defendant Belcan received an award from P&W titled the “Supplier

Productivity Innovation Award.” Belcan itself issued a press release with the award, noting that it

was the sixth reward they had received from P&W. Patel himself was present at the award

ceremony and spoke on behalf of P&W congratulating Belcan.

        135.    Cyient also won the Supplier Innovation Award in 2019 for the seventh

consecutive year and the Supplier Highest Productivity Award for the fourth consecutive year.

Cyient also issued a press release announcing the awards noting their “multi-million dollars in

cost savings that were realized through several supplier saving proposals.”

        136.    Defendants Mahesh and Khandros worked together for several years at P&W.

        137.    These events were prime opportunities for Defendants to discuss their No-Poach

Agreements and are indicative of the close relationships between and among the Defendants

stretching over years. The frequent meetings and long relationships between Defendants provided

ample opportunity for the Defendants to collude with each other to the detriment of the Class and

Plaintiffs.

        138.    High barriers to entry: Aerospace Skilled Workers have remarkable academic

qualifications and require technical education as a criterion to obtain employment. At the bare

minimum, each Aerospace Skilled Workers has a bachelor’s degree and often has additional

qualifications such as post graduate degrees in complicated fields such as science, technology,

engineering, and mathematics. For example, P&W and QuEST require at least a bachelor’s degree

for starting positions, and senior positions may require a master’s degree, years of experience,

additional licensing, or combinations of the above. Further, aerospace engineers and similarly

skilled workers may require specialized experience for certain positions, due to the complex

nature of the work they undertake. Finally, depending on the project, especially those involving

defense or government projects, may require the engineer to be a citizen of the United States, and

                                                 31
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 34 of 44




potentially, security clearance. All these factors create high barriers of entry to enter the aerospace

industry and make it easier for Defendants to work together to suppress wages.

       139.     Compounding the high barriers to entry is the shortage of workers in the complex

technical fields. The complex and difficult to obtain perquisites for aerospace employment

command proper compensation at market determined prices. Coupled with a shortage of skilled

qualified workers in aerospace, aerospace engineers and similarly skilled workers would, in a

competitive market, be able to demand higher wages.

       140.     Defendants have every incentive to poach other firms’ highly skilled employees

who have demonstrated records of excellence. Defendants’ knowing refusal to hire highly skilled

and rare employees during the labor shortage makes little sense if they were operating fairly and

under competitive market conditions.

       141.     High exit barriers: Beyond the difficulties in entering the labor market for

aerospace engineering, exiting is also difficult. Engineers have invested significant time and

resources in developing not only their initial qualifications, but also their specialized skills and

experiences. This makes switching careers to a comparable wage immensely difficult, as these

specialized engineering skills are not transferable, particularly not after specializing in a specific

aspect of aerospace engineering, such as propulsion and combustion. This level of specialization

makes it difficult for engineers to fight for higher wages in the face of collusion as they are unable

to find alternative means of employment that utilize their skills at market value.

       142.     Inelastic demand and a lack of available substitutes for aerospace engineers: The

final factor that makes aerospace engineering susceptible to this sort of anticompetitive conduct is

the relative inelastic demand for aerospace engineers and similarly skilled workers. In the past

decade, on average, about 4,000 openings were available for aerospace engineers each year. Due

to their highly specialized and difficult to obtain skills, aerospace engineers and similarly skilled

workers cannot generally be substituted for other types of engineers. Further, engineers may be

limited in their geographic scope for projects if working on defense or government work, and



                                                   32
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 35 of 44




family concerns can also prevent mobility. Thus, Defendants could artificially deflate wages

without workers having an alternative in the face of collusion amongst Defendants.

K.      Defendants Concealed their Unlawful Conduct to the Detriment of the Class

       143.     Defendants actively concealed their unlawful conduct to the Class Members, their

own employees, to increase their profits. Not only did Defendants not disclose that they were not

hiring any employees from other competitor’s privy to the No-Poach Agreements, but as alleged

above, the Defendants also monitored each other to ensure compliance. At no point did they

inform the Plaintiffs or the Class about the existence of their illegal No-Poach Agreements or

their enforcement of these illegal agreements.

       144.     The No-Poach Agreements were designed to remain undetected by the public and

the skilled, technical, and engineering personnel working for Defendants. The No-Poach

Agreements were entered into orally, and only referenced in carefully guarded emails and private

materials. Thus, Skilled Aerospace Workers and the public had no way of detecting the unlawful

activities of Defendants through reasonable inquiry.

       145.     Defendants, upon receiving push back from other members of the No-Poach

Agreements would not provide any reasoning for stopping negotiations, leaving the Plaintiffs and

the Class in the dark about the Agreements.

       146.     The DOJ notes that few engineers were aware of the unlawful Agreements,

including those who had been denied advancement opportunities or salary increases due to its

effect. DOJ Aff., ¶ 54. The market impact of the restrictions would further impact even those

Engineers that did not apply for employment with another Defendant, and thus continued to hide

the unlawful Agreements. No reasonable inquiry could discover the No-Poach Agreements.

       147.     The information made public by the DOJ finally allowed the Plaintiffs and the

Class to become aware of the damage done to them. Without the governmental criminal

investigation, Plaintiffs would have remained in the dark even now.

       148.     The Plaintiffs, and other members of the Class, did not learn of the conspiracy

until December 9, 2021, when the DOJ’s criminal complaint was partially unsealed and the arrest

                                                 33
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 36 of 44




warrant for Mahesh Patel was made public. This secrecy made it impossible for Plaintiff and the

Class to seek redress prior to that date.

                            VII.    CLASS ACTION ALLEGATIONS

       149.     Plaintiffs brings this action on behalf of themselves, and all others similarly

situated (the “Class”) pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3).

The Class is defined as follows:


        All natural persons in the United States and its territories employed by Defendants
        as Aerospace Engineers or other skilled employment during the Class Period from
        January 1, 2011, through the present (the “Class Period”). Excluded from the
        Class are corporate officers, members of the boards of directors, and senior
        executives of Defendants who entered into the illicit agreements alleged herein;
        employees of the United States government employed by Defendants during the
        Class Period; and any and all judges and justices, and chambers’ staff, assigned to
        hear or adjudicate any aspect of this litigation.

       150.     Plaintiffs does not, as yet, know the exact size of the Class because such

information is in the exclusive control of Defendants. Based upon the nature of the trade and

commerce involved, Plaintiffs believes that there are thousands of members in the Class, and that

Class members are geographically dispersed throughout this district and the United States and its

territories. Joinder of all Class members, therefore, is not practicable.

       151.     The questions of law or fact common to the Class include but are not limited to:

                a.      whether the conduct of Defendants violated the Sherman Act;

                b.      whether Defendants’ conspiracy and associated agreements, or any one of

them, constitute a per se violation of the Sherman Act;

                c.      whether Defendants fraudulently concealed their conduct;

                d.      whether Defendants’ conspiracy and associated agreements restrained

trade, commerce, or competition for skilled labor among Defendants;

                e.      whether Plaintiffs and the Class suffered antitrust injury or were

threatened with injury;




                                                   34
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 37 of 44




                 f.      the difference between the total compensation Plaintiffs and the Class

 received from Defendants, and the total compensation Plaintiffs and the Class would have

 received from Defendants in the absence of the illegal acts, contracts, combinations, and

 conspiracy alleged herein; and

                 g.      the type and measure of damages suffered by Plaintiffs and the Class.

        152.     These and other questions of law and fact are common to the Class and

predominate over any questions affecting only individual Class members.

        153.     Plaintiffs’ claims are typical of the claims of the Class.

        154.     Plaintiffs will fairly and adequately represent the interests of the Class and have

no conflict with the interests of the Class.

        155.     Plaintiffs has retained competent counsel experienced in antitrust litigation and

class action litigation to represent them and the Class.

        156.     Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief appropriate with respect to the Class as a whole.

        157.     This class action is superior to the alternatives for the fair and efficient

adjudication of this controversy. Prosecution as a class action will eliminate the possibility of

repetitive litigation. There will be no material difficulty in the management of this action as a

class action. By contrast, prosecution of separate actions by individual Class members would

create the risk of inconsistent or varying adjudications establishing incompatible standards of

conduct for Defendants.

       VIII. ANTICOMPETITIVE EFFECTS AND LACK OF PROCOMPETITIVE
                             JUSTIFICATION

        158.     The No-Poach Conspiracy substantially reduced competition for Skilled

Aerospace Worker labor. Defendants and their co-conspirators entered into, implemented, and

policed these unlawful No-Poach Agreements with knowledge of the overall Conspiracy, and did

so with the intent, purpose, and effect of fixing, restraining, and stabilizing the compensation paid

to their personnel at artificially low levels.

                                                   35
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 38 of 44




       159.     The Conspiracy did not only harm individuals who sought to change their

employment from one Defendant to another, but also extended to those who had no intention of

changing from one Defendant to another as they suffered from artificially depressed wages. This

injury was caused by the Defendants through their repeated and continuous efforts to maintain

internal equity in their compensation structures and reduce transparency.

       160.     Plaintiffs and other members of the Class were harmed by the No-Poach

Agreements alleged herein. Defendants’ unlawful No-Poach Agreements restrained competition

in the market for the services of Aerospace Engineering Workers, which had the effect of

suppressing compensation and mobility for all members of the Class.

       161.     Without this class action, Plaintiffs and the Class will remain unable to receive

compensation for the harm they suffered, and Defendants will continue to reap the benefits of

their illegal conspiracy.

       162.     The unlawful No-Poach Agreements entered into by Defendants and their co-

conspirators are per se illegal horizontal restraints on competition.

       163.     In the alternative, Defendants are liable under a “quick look” analysis where one

with even a rudimentary understanding of economics could conclude that the arrangements and

agreements alleged would have an anticompetitive effect on class members and markets.

       164.     In the alternative, Defendants and unnamed co-conspirators also exploited their

collective market power in the relevant market, which is the market for skilled labor of aerospace

engineers or similarly skilled workers, and are liable under a Rule of Reason inquiry because their

unlawful Conspiracy, among other things, reduced compensation and restrained competition in

the market for the services of skilled professionals, and any procompetitive effects that may have

resulted from the Conspiracy and/or the conduct of Defendants and their agents and co-

conspirators in furtherance thereof were and are outweighed by the anticompetitive harm alleged

herein, including, but not limited to, restricting employee mobility and suppressing wages,

benefits, and other aspects of compensation.



                                                  36
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 39 of 44




       165.         The Conspiracy and the conduct of Defendants and their agents and co-

conspirators in furtherance thereof did not have procompetitive effects and were not intended to

have procompetitive effects.

       166.         The Conspiracy and the conduct of Defendants and their agents and co-

conspirators in furtherance thereof had substantial anticompetitive effects, including, but not

limited to, eliminating competition, preventing Plaintiffs and the Class members from obtaining

employment and earning compensation in a competitive market, reducing compensation for

Aerospace Skilled Workers, and preventing or limiting employment opportunities and choice with

respect to such opportunities.

       167.         The anticompetitive effects outweigh any procompetitive benefits of the

Conspiracy. The No-Poach Agreements did not provide the Plaintiffs, the proposed Class, or the

public at large with a better product, save them money, or create any efficiencies that improved

the functioning of the labor market.

       168.         Indeed, once Defendants stopped competing with one another for the best

aerospace engineers and other similarly skilled labor, the quality of the work likely declined. Nor

did the agreements allow Defendants to compete on price better as all Defendants were similarly

suppressing wages across the board, making their lower labor costs the same as their competitors.

       169.         The only benefit to be derived from suppressing compensation for Plaintiffs and

the Class members was increased profits due to lower costs for Defendants. Defendants’ ill-gotten

gains, achieved through illegal means and at the expense of Plaintiffs and the Class members, are

not a benefit the antitrust laws are designed to confer. There are no pro-competitive benefits to be

gained through these illegal no-poach agreements.

              IX.      EQUITABLE TOLLING AND STATUTE OF LIMITATIONS

       170.         While Plaintiffs had knowledge of aspects of Defendants’ and industry recruiting

practices, Plaintiffs had neither actual nor constructive knowledge of Defendants’ unlawful

conspiracy until, at the earliest, December 9, 2021, when the DOJ released unsealed portions of



                                                    37
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 40 of 44




their indictment of Defendants and arrest warrant for Patel. Nor did Plaintiffs have any reason to

suspect that Defendants were illegally acting in concert to suppress wages and the labor market.

       171.     At no point did Defendants inform Plaintiffs that their compensation was not

competitive but was instead suppressed by Defendants’ anticompetitive agreements. Indeed,

Defendants’ explanations and statements regarding hiring and compensation were pretextual and

designed to fraudulently conceal their conspiracy and other illegal anticompetitive conduct.

Plaintiffs therefore did not know of, did not discover, and could not have discovered through

reasonable diligence, the existence of the conspiracy outlined in the foregoing allegations.

       172.     Conspiracies, by their nature, are self-concealing. To keep the conspiracy hidden

from those it affected most—their employees and prospective employees—Defendants and their

co-conspirators did not publicize their No-Poach Agreements.

       173.     Defendants also concealed the fraud by giving false and pretextual explanations

for hiring and compensation decisions, including that the decisions were based on merit, the

operation of free and open competition, and other considerations, instead of pursuant to an

unlawful agreement.

       174.     As a result of Defendants’ and their co-conspirators’ successful efforts to conceal

the fact and scope of the Conspiracy, the running of any applicable statute of limitations has been

tolled with respect to Plaintiffs’ claims concerning Defendants’ conspiracy.

                                 X.      CLAIM FOR RELIEF
                 (Violation of Sections 1 and 3 of the Sherman Act § 1 15 U.S.C. §§ 1, 3)
                                     (Alleged against all Defendants)

       175.     Plaintiffs, on behalf of themselves and all others similarly situated, realleges and

incorporates herein by reference each of the allegations contained in the preceding paragraphs of

this Complaint, and further alleges against each of them the allegations described below.

       176.     Defendants entered into and engaged in unlawful No-Poach Agreements in

restraint of the trade and commerce described above in violation of Sections 1 and 3 of the

Sherman Act, 15 U.S.C. §§ 1, 3. Beginning at a time known only to Defendants, but no later than



                                                 38
        Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 41 of 44




January 1, 2011, and continuing through the present, Defendants engaged in continuing trusts in

restraint of trade and commerce in violation of Sections 1 and 3 of the Sherman Act.

       177.      Defendants’ agreements have included concerted action and undertakings among

the Defendants with the purpose and effect of: (a) fixing the compensation of Plaintiffs and the

Class at artificially low levels; and (b) eliminating, to a substantial degree, competition among

Defendants for skilled labor.

       178.      As a direct and proximate result of Defendants’ combinations and contracts to

restrain trade and eliminate competition for skilled labor, members of the Class have suffered

injury to their property in the United States or its territories and have been deprived of the benefits

of free and fair competition on the merits.

       179.      The unlawful agreements among Defendants have had the following direct,

substantial, and reasonably foreseeable effects, among others:

              a. competition in the United States among Defendants for Skilled Aerospace

                 Workers was and continues to be suppressed, restrained, and eliminated;

              b. Plaintiffs and Class members have, as a direct and proximate result, received

                 lower compensation from Defendants than they otherwise would have received in

                 the absence of Defendants’ unlawful agreements, and, as a result, have been

                 injured in their property and have suffered damages in an amount according to

                 proof at trial.

       180.      The acts done by each Defendant as part of, and in furtherance of, their contracts,

combinations or conspiracies were authorized, ordered, or done by their respective officers,

directors, agents, employees, or representatives while actively engaged in the management of

each Defendant’s affairs.

       181.      Defendants’ contracts, combinations and/or conspiracies are per se violations of

Sections 1 and 3 of the Sherman Act. Alternatively, Defendants’ contracts, combinations and/or

conspiracies are illegal and violate Section 1 of the Sherman Act under the quick look or rule of

reason approach.

                                                  39
         Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 42 of 44




         182.    Accordingly, Plaintiffs and members of the Class seek treble damages for

Defendants’ violations of Section 1 of the Sherman Act. Plaintiffs also seeks to recover the costs

of bringing this suit, reasonable attorneys’ fees, and a permanent injunction enjoining Defendants

from ever again entering into similar agreements in violation of Section 1 of the Sherman Act.

                              XI.       DEMAND FOR JURY TRIAL

         Plaintiffs and the proposed Class hereby demand a trial by jury on all applicable claims to

the maximum number of jurors permitted by law.

                                 XII.     PRAYER FOR RELIEF
                 WHEREFORE, Plaintiffs requests that the Court enter judgment on their behalf

         and on behalf of the Class defined herein, by adjudging and decreeing that:

                a.      This action may be maintained as a class action, with Plaintiffs serving as

the Class Representative for the Class, and with Plaintiffs’ counsel as Class Counsel for the

Class;

                b.      Defendants have engaged in a trust, contract, combination, or conspiracy

in violation of Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§ 1 & 3, and Plaintiffs and the

Class have been injured in their business and property as a result of Defendants’ violations;

                c.      The alleged combinations and conspiracy are per se violations of the

Sherman Act;

                d.      Defendants are enjoined from attempting to enter into, entering into,

maintaining, or enforcing any no-poach agreement, or other illegal anticompetitive agreement or

understanding, as alleged herein;

                e.      Judgment be entered for Plaintiffs and the Class members, and against

Defendants, for three times the amount of damages sustained by Plaintiffs and the Class, as

allowed by law;

                f.      Plaintiffs and the Class recover pre-judgment and post-judgment interest

as permitted by law;



                                                 40
       Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 43 of 44




             g.       Plaintiffs and the Class recover their costs of suit, including attorneys’

fees, as provided by law; and

             h.       Plaintiffs and the Class are entitled to such other and further relief as is

just and proper under the circumstances.




                                                41
       Case 3:21-cv-01657-SVN Document 101 Filed 01/28/22 Page 44 of 44




Dated: January 28, 2022               Respectfully Submitted,
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                                      42
